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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA :                                          Hon. Renee M. Bumb
v.                                    :                             Crim. No. 18-608 (RMB)
STERLING WHEATEN                      :


      BRIEF OF DEFENDANT STERLING WHEATEN IN OPPOSITION TO THE
 GOVERNMENT’S MOTIONS IN LIMINE TO (1) EXCLUDE GOVERNMENT’S EXPERT
 WITNESS AND (2) TO PROHIBIT DEFENDANT FROM INTRODUCING IRRELEVANT,
   IMMATERIAL, AND UNFAIRLY PREJUDICIAL EVIDENCE OFFERED FOR THE
                     PURPOSE OF JURY NULLIFICATION


Introduction
     On Friday, February 11, 2022, at approximately 12:00 pm and 3:25 pm respectively, the

Government filed the two additional in limine motions referenced above. We will address each in

the order in which they were filed. For the reasons that will be outlined herein we respectfully

submit that the Motions should be DENIED.

     1. The Government’s Motion to Exclude the Testimony of Its Own Expert Should Be
        Denied
     Understanding that the Defense may seek to elicit specific testimony from Dr. Mesloh as

outlined in the expert report he prepared for the Government the Government previously sought

to limit the Defense’s ability to do so in its Motion at Dkt. 53. By way of background, the Court

denied the Government’s prior Motion stating in part, “the Court denies the Government’s Motion

in Limine with respect to the testimony of Charlie Mesloh, Ph.D. The Court is not persuaded that

Dr. Mesloh’s finding that Defendant’s conduct “does not rise to the level of a criminal act and

perhaps not even to the level of a civil action” constitutes a legal conclusion as alleged by the
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Government. [Docket No. 53, at 14.] Such statement only offers Dr. Mesloh’s opinion of what

Defendant’s conduct is not and stops short of reaching a legal conclusion.” Now, mid-trial, the

Government seeks to reframe its prior Motion in an effort to usurp the Court’s prior ruling. We

respectfully request, in line with the Court’s prior ruling, that the Government’s Motion be denied.

    As a preliminary matter, we respectfully submit that the Motion should be denied as contrary

to Your Honor’s Rules and Procedures which provide that any in limine motions are to be

submitted “at least three weeks before the start of trial” (Rules and Procedures at VII (A)). As the

Court is aware, the trial of this matter commenced before Your Honor on February 8, 2022 and

the Government filed this Motion on February 11, 2022 at 12:00 pm. That said, even if the Court

is willing to consider the merits of the Government’s Motion, we respectfully submit that it must

still be denied.

    Federal Rule of Evidence 702 has a liberal policy of admissibility. See Kannankeril v.

Terminix Int’l, Inc., 128 F.3d 802, 806 (3d Cir. 1997). Admissibility rather than rejection of expert

testimony is the exception rather than the rule. See Advisory Committee Notes, Fed. R. Evid. 702;

See also Holbrook v. Lykes Bros. S.S. Co., 80 F.3d 777, 780 (3d Cir. 1996). Doubts about whether

an expert’s testimony will be useful should generally be resolved in favor of admissibility unless

there are strong factors such as time or surprise favoring exclusion. Linkstrom v. Golden T. Farms,

883 F.2d 269, 270 (3d Cir. 1989). Here, no such strong factors exist. It is no surprise that the

Defense intends to call Dr. Mesloh to testify, and we anticipate he will testify in a limited capacity

while Dr. Ferland will testify in a more comprehensive capacity. As such, the additional trial time

that will result from his testimony will be minimal. Additionally, the Government’s representation

that Dr. Mesloh’s testimony would be cumulative to that of Dr. Ferland is disingenuous. While

both experts may consider similar issues, their reports - and by extension their potential testimony
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– are clearly distinguishable in that Dr. Ferland finds no violations of K9 policy and procedure,

while Dr. Mesloh, to the contrary, does find such violations but nonetheless states “in my opinion,

this does not rise to the level of a criminal act and perhaps not even to the level of a civil action”

(Mesloh Report at Pg. 9). Accordingly, in view of the foregoing, we respectfully submit that the

Government’s Motion to exclude Dr. Mesloh’s testimony as cumulative should be DENIED.

   2. The Government’s Motion Seeking to Prohibit Defendant from Introducing Irrelevant,
      Immaterial, and Unfairly Prejudicial Evidence Offered for the Purpose of Jury
      Nullification Should Be Denied
   As with the prior Motion, the Government filed this Motion on Friday, February 11, 2022 at

3:25 pm contrary to Your Honor’s Rules and Procedures which indicate that all in limine Motions

are to be filed at least three weeks prior to trial. See Rules and Procedures at VII (A). As Your

Honor is aware, trial in this matter commenced on February 8, 2022 and we are now into our

second week. On that basis alone, we respectfully submit that the Government’s Motion should be

denied. However, to the extent the Court intends to consider the merits of the Government’s

Motion despite the late filing, we respectfully submit that the Motion should still be DENIED.

   The basis on which the Government makes its Motion is a statement of fact Counsel made

during his opening statement regarding Mr. Wheaten’s employment with the Atlantic City Police

Department. The statement counsel made was limited to providing background factual information

regarding Mr. Wheaten, the Defendant in this case. Such background information regarding the

Parties in a case is relevant for a Jury to consider and welcome in an opening statement. Notably,

at the time the statement was made by counsel, the Government raised no objection. Accordingly,

we respectfully submit that any objection to that statement was thereby waived and is not preserved

by subsequently filing an out-of-time in limine Motion. Beyond that, as was the case with many

of the Government’s prior in limine Motions, the instant Motion unnecessarily seeks a preemptive
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ruling on issues that are more appropriately addressed by way of objection during trial if and when

objectionable testimony of this nature is elicited. Because the Government maintains the ability to

raise such objections in the appropriate context, we respectfully submit that this Motion should be

DENIED.



                                             Respectfully submitted,
                                             s/ Stacy Biancamano
                                             Stacy Biancamano
                                             &
                                             s/ Lou Barbone
                                             Lou Barbone
                                             Attorneys for Defendant, Sterling Wheaten
